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                                                       July 14, 2022

 VIA ECF

 Hon. Pamela K. Chen, USDJ
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn New York 11201

 Re:    Collazos v. Garda CL Atlantic, Inc., 21-cv-02095-PKC-JRC

 Dear Judge Chen:

          As an initial matter, please accept my apology for not submitting Plaintiff’s opposition to
 the motion yesterday. We attempted to file the opposition but the ECF system would not permit
 us to file opposition until the Defendant filed its motion, which occurred after close of business
 yesterday.

         This action was commenced in state court on March 11, 2021, and removed by Garda to
 federal court on April 16, 2021. Garda served motion papers on January 11, 2022 and again on
 May 18, 2022 seeking arbitration under the FAA, consistent with its pre-motion letter to the
 Court dated September 15, 2021 (ECF No. 12).

          In June 2022 Garda obtained Plaintiff’s consent and the Court’s permission to “resubmit
 its brief.” However, Garda did not obtain Plaintiff’s consent or the Court’s permission to amend
 its notice of motion to include additional grounds for relief other than the FAA. Then, on June
 24, 2022, Garda asserted for the first time, in its supplemental brief, that arbitration was
 compelled under the NY CPLR and the NLRA. On July 13, 2022, without seeking leave of the
 Court, Defendant filed a “Revised Notice of Motion” via ECF which had not been previously
 served on the Plaintiff and which included alternative bases to compel arbitration under the NY
 CPLR and the NLRA. See ECF No. 37.

         Perhaps Garda’s logic is that it is harmless error to file the supplemental Notice of
 Motion dated July 13, 2022 because it already mentioned the CPLR and the NLRA in its
 supplemental brief dated June 24, 2022. However, this position overlooks the fact that Garda
 only obtained Plaintiff’s consent, and more importantly the Court’s leave, based upon its
 representation that “minor revisions” to its brief were necessary to address Southwest Airlines
 Co. v. Saxon, 213 L.Ed.2d 27, 34 (U.S. June 6, 2022). See ECF No. 30. The assertion of new
 bases for relief goes well beyond what was requested.




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         At no time before June 13, 2022 (the date on which Garda fully submitted its motion),
 Garda did not inform the Court of its intention to move pursuant to NY CPLR and the NLRA.
 Plaintiff didn’t find out about Garda’s intention to move under the CPLR and the NLRA until
 June 24, 2022, after it had given limited consent to Garda to supplement its brief to address the
 Southwest case. We understand that a litigant may have an “aha” moment after filing a motion,
 realizing a fatal flaw. When that happens, a litigant may openly advise the Court of its oversight,
 and give the Court an opportunity to rule on the propriety of taking a “second bite at the apple.”
 It may be tempting to simply assert the new legal bases and later seek permission (“Ask
 forgiveness, not permission”).1 The way in which Garda asserted these new legal bases may
 have been innocent and unintentional. However, these claims were not timely or properly
 asserted, and this case has been delayed for more than a year based upon Garda’s simple
 representation that arbitration is compelled under the FAA.

        To be clear, we believe that even if the Court considers these arguments, arbitration is not
 compelled. However, under these circumstances, the Court may exercise its discretion to decline
 to consider ECF No. 37.

                                                           Respectfully submitted,

                                                           /s/ Steven J. Moser
                                                           Steven J. Moser




 1
     The quote is attributable to Admiral Grace
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